                         Case 3:19-mj-08790-RFC Document 1 Filed 10/07/19 Page 1 of 2
AO 442 (REV. 12/85)


                                                United States District Court                                                FILED

                                                       Western District of Texas                                          Oct 7 2019

                                                          El Paso Division                                         Clerk, U.S. District Court
                                                                                                                   Western District of Texas


                                                                                                             By:

                                                                                                                                       Deputy
USA                                                                      §
                                                                         § CRIMINAL COMPLAINT
vs.                                                                      § CASE NUMBER: EP:19-M -08790(1) RFC
                                                                         §
(1) LUIS ANGEL PEREZ-ZARATE                                              §

                  I, the undersigned complainant being duly sworn state the following is true and correct to the best of my knowledge and

belief. On or about October 04, 2019 in El Paso county, in the WESTERN DISTRICT OF TEXAS defendant did, being an alien to the

United States, departed the United States while an order of exclusion, deportation, or removal was outstanding, thereafter, entered,

attempt to enter, or was found in the United States without receiving permission to reapply for admission to the United States from the

Attorney General of the United States and the Secretary of Homeland Security, the successor pursuant to Title 6, United States Code,

Sections 202(3), 202(4), and 557



in violation of Title                  8                  United States Code, Section(s)         1326



                  I further state that I am a(n) Border Patrol Agent and that this complaint is based on the following facts: " The

DEFENDANT, Luis Angel PEREZ-Zarate , an alien to the United States and a citizen of Mexico was found in the United States

on October 04, 2019 approximately 2 miles east of the Ysleta Port of Entry near El "

Continued on the attached sheet and made a part of hereof.



Sworn to before me and subscribed in my presence,
                                                                                           Signature of Complainant
                                                                                           Lopez, Carlos A.
                                                                                           Border Patrol Agent

October 7, 2019                                                                      at EL PASO, Texas
File Date                                                                               City and State




ROBERT F. CASTANEDA                                                                        ______________________________
UNITED STATES MAGISTRATE JUDGE                                                             Signature of Judicial Officer
                                                                                                     OATH TELEPHONICALLY SWORN
                                                                                                     AT 1:01 P.M.
                                                                                                     FED.R.CRIM.P.4.1(b)(2)(A)
                 Case 3:19-mj-08790-RFC Document 1 Filed 10/07/19 Page 2 of 2
CONTINUATION OF CRIMINAL COMPLAINT - EP:19-M -08790(1)

WESTERN DISTRICT OF TEXAS

(1) LUIS ANGEL PEREZ-ZARATE

FACTS (CONTINUED)

Paso, Texas in the Western District of Texas. From statements made by the DEFENDANT to the arresting agent,
DEFENDANT was determined to be a native and citizen of Mexico , without immigration documents allowing him
to be or remain in the United States legally. Defendant has been previously ordered removed on April 18, 2018 in
Denver, Colorado by an Immigration Judge from the United States to Mexico. Defendant has not received
permission from the Attorney General of the United States or the Secretary of Homeland Security to reapply for
admission into the United States.



IMMIGRATION HISTORY:

The DEFENDANT was served with an Immigration Notice to Appear (I-862) on 06/05/2015.

CRIMINAL HISTORY:

09/07/2014, Denver, CO, Traffic Offence, DUI, Public Peace(M), ACC, Unknown..
10/24/2014, Denver, CO, Traffic Offence, Failure to Appear(M), ACC, Outstanding Warrant..
09/27/2015, Denver, CO, Traffic Offence, DUI(M), ACC, Unknown..
02/20/2016, Denver, CO, Making False Report(M), CNV, 2 Days in Jail..
07/14/2017, Commerce City, CO, Habitual Traffic Offender, Traffic Offence(M), ACC, Unknown..
10/09/2017, Denver, CO, Assault(F), ACC, Unknown..
